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6
     Attorneys for Defendant
7    COUNTY OF FRESNO
8
                                   UNITED STATES DISTRICT COURT
9
                    EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
10
11   GENERAL SECURITY SERVICES                         Case No. 1:11-cv-00724 MJS
12   CORPORATION,

13                                    Plaintiff,       STIPULATION OF VOLUNTARY
                                                       DISMISSAL PURSUANT TO F.R.C.P.
14                          v.                         41(a)(1)(A)(ii); ORDER
15
     COUNTY OF FRESNO,
16
17                                    Defendant.

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     Stipulation of Voluntary Dismissal            1               Case No. 1:11-cv-00724 MJS
     Pursuant to F.R.C.P 41(a)(1)(A)(ii)
       Case 1:11-cv-00724-MJS Document 65 Filed 02/10/14 Page 2 of 2


1             IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or

2    their respective counsel(s) that the above-captioned action is voluntarily dismissed, with
3    prejudice, against the defendant COUNTY OF FRESNO, pursuant to the Federal Rules
4    of Civil Procedure 41(a)(1)(A)(ii).
5
6
     IT IS SO STIPULATED.
7
     Dated: February 7, 2014
8
                                                      KEVIN B. BRIGGS
9                                                     County Counsel
10
11                                             By:    /s/ Michael Linden
                                                      Michael R. Linden, Deputy
12                                                    Attorneys for Defendant

13
     Dated: February 7, 2014
14
                                                      VAUGHN LEGAL GROUP
15
16
17                                             By:    /s/ Barak Vaughn
                                                      Barak Vaughn
18                                                    Attorney for Plaintiff

19
                                           ORDER
20
              Good cause appearing, the above Stipulation is accepted and adopted by the
21
22   Court.

23   This case is DISMISSSED.

24   IT IS SO ORDERED.
25
26       Dated:      February 7, 2014                   /s/   Michael J. Seng
                                                     UNITED STATES MAGISTRATE JUDGE
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     Stipulation of Voluntary Dismissal        2                Case No. 1:11-cv-00724 MJS
     Pursuant to F.R.C.P 41(a)(1)(A)(ii)
